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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                        BRUNSWICK DIVISION

KATHLEEN PINTO,                )
                               )
     Plaintiff,                )
                               )
v.                             )             Civil Case No.:
                               )
SEA ISLAND RESORT LLC,         )
                               )
                               )
     Defendant.                )
_______________________________)

     PLAINTIFF’S COMPLAINT WITH DEMAND FOR JURY TRIAL

       COMES NOW the Plaintiff, KATHLEEN PINTO (“Plaintiff” or

“PINTO”), files her Complaint against the Defendant, SEA ISLAND RESORT

LLC (“Defendant” or “Sea Island”) and in support states the following:

                             NATURE OF THE CLAIMS

      1.     This is an action for monetary damages and injunctive relief, pursuant

to Title VII of the Civil Rights Act of 1964 as amended, 42 U.S.C. §§ 2000e, et seq.

(“Title VII”), as amended by the Pregnancy Act of 1978 to redress Defendant’s

unlawful employment practices against Plaintiff, including Defendant’s unlawful

discrimination and retaliation against Plaintiff because of her sex and pregnancy,

leading to her unlawful termination.



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                             JURISDICTION AND VENUE

       2.        This Court has jurisdiction of the claims herein pursuant to 28 U.S.C.

§§ 1331 and 1343, as this action involves federal questions regarding the deprivation

of Plaintiff’s rights under Title VII.

       3.        Venue is proper in this District pursuant to 28 U.S.C. §1391(b)

because a substantial part of the events or omissions giving rise to this action,

including Defendant’s unlawful employment practices alleged herein, occurred in

this District.

                                         THE PARTIES

       4.        Plaintiff, Pinto, is a citizen of the United States was at all times

material, a resident of the State of Florida.

       5.        Defendant, Sea Island, is a luxury resort located at 100 Cloister Dr,

Sea Island, GA 31561.

       6.        Defendant, Sea Island is an employer as defined by the laws under

which this action is brought and employs the requisite number of employees.

                             PROCEDURAL REQUIREMENTS
       7.        Plaintiff has complied with all statutory prerequisites to filing this

action.




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        8.     On November 15, 2021, Plaintiff filed timely claim with the Equal

Employment Opportunity Commission (“EEOC”) against Defendant, satisfying the

requirements of 42 U.S.C. § 2000e5(b) and (e) based on sex and pregnancy

discrimination, and retaliation.

        9.     On March 21, 2024, the U.S. Equal Employment Opportunity

Commission issued Plaintiff the Notice of Right to Sue.

        10.    This complaint was timely filed within ninety (90) days of Plaintiff’s

receipt of the Notice of Right to Sue.

                             FACTUAL ALLEGATIONS

        11.    Plaintiff is a female.

        12.    Plaintiff began working for Defendant Sea Island through a placement

with Defendant APDC Cleaning Services, Inc. (“APDC”) on or around March 9,

2021 for a seasonal position to extend at least until October 9, 2021, where she was

assigned to the Snack Shack Beach Restaurant at Sea Island’s Beach Club.

        13.    Plaintiff worked an average of 10 hours a day at a rate of $16 per hour,

was provided round-trip transportation from Orlando, Florida to Sea Island, Georgia,

and was provided a room on-site she shared with another employee for a discounted

rate.

        14.    Plaintiff’s supervisors were Chef Manager Greg Smith, along with Chef

Martin Cárdenas and Sous Chef Julio Álvarez.


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      15.    Through her employment Plaintiff was subjected to discriminatory and

disparate treatment. For example, Chef Cardenas did not allow Plaintiff to take any

breaks or eat during her scheduled mealtime, telling Plaintiff “If I do not eat, you do

not eat either.”

      16.    On July 12, 2021, Plaintiff learned she was pregnant.

      17.    On July 13, 2021, Plaintiff attempted to find Sous Chef Julio Alvarez

to advise of her pregnancy; Mr. Alvarez was not in his office.

      18.    When Plaintiff inquired, Chef Kelvo (last name unknown) informed

Plaintiff that Mr. Alvarez was in another kitchen.

      19.    Plaintiff sent Mr. Alvarez a message via WhatsApp at 8:11pm,

informing him of her pregnancy.

      20.    Approximately one hour later, Supervisor Gabriel Salazar called

Plaintiff and instructed her to not go into work on July 14, 2021. Mr. Salazar further

expressed Plaintiff was not permitted to work the following day because Sea Island

Chef Manager, Greg Smith, alleged a reduction in staff.

      21.    On or around July 17, 2021, Plaintiff spoke with a Sea Island Human

Resources Representative who verbally stated Sea Island was unsure why Plaintiff

was no longer permitted to work with Sea Island as APDC was actively hiring for

Sea Island at the time – and there was no reduction in staffing.




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      22.    Sea Island contacted Mr. Smith who in response stated Defendants

could not have a pregnant cook. Thus, Plaintiff’s termination was upheld.

      23.    Plaintiff was forced to leave her on-site housing and was effectively

homeless and with no way to return to Orlando, Florida from Sea Island, Georgia.

      24.    Plaintiff was in communication with Mr. Salazar however Mr. Salazar

repeatedly was evasive and did not provide Plaintiff

      25.    The unlawful employment practices complained of in the above-

mentioned paragraphs were intentional.

      26.    The unlawful employment practices complained of in the above-

mentioned paragraphs were done with malice or with reckless indifference to the

statutory and/or federally protected rights of Plaintiff.

      27.    Plaintiff has retained the services of undersigned counsel and has

agreed to pay said counsel reasonable attorney’s fees.

             Count I: Sex and Pregnancy Discrimination under Title VII

      28.           Plaintiff re-alleges and adopts, as if fully set forth herein, the

allegations stated in Paragraphs 1-27 above.

      29.           At all times relevant to this action, Plaintiff was in a protected

category under Title VII because of her sex and pregnancy.




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      30.            Defendant is prohibited under Title VII from discriminating

against Plaintiff because of her sex and pregnancy with regard to discharge,

employee compensation, and other terms, conditions, and privileges of employment.

      31.          Defendant violated Title VII by terminating Plaintiff based on her

sex and pregnancy.

      32.         Plaintiff has been damaged by the Defendant’s illegal conduct.

      33.          Defendant’s discriminatory conduct, in violation of Title VII, has

caused Plaintiff to suffer a loss of pay, benefits, and prestige.

      34.            Defendant engaged in discriminatory practices with malice and

reckless indifference to the Plaintiff’s federally protected rights, thereby entitling her

to and award of punitive damages.

                  Count II: Retaliation in Violation of Title VII

      35.            Plaintiff re-alleges and adopts, as if fully set forth herein, the

allegations stated in Paragraphs 1-27 above.

      36.            Plaintiff engaged in protected activity under Title VII while

employed by Defendant.

      37.            Defendant intentionally retaliated against Plaintiff for engaging

in protected activity.

      38.            Defendant’s conduct violated Title VII.




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      39.           Defendant’s discriminatory conduct, in violation of Title VII,

caused Plaintiff to suffer a loss of pay, benefits, and prestige for which Plaintiff is

entitled to damages.

      40.          Defendant’s actions have caused Plaintiff to suffer mental and

emotional distress, entitling her to compensatory damages.

      41.           Defendant engaged in discriminatory practices with malice and

reckless Indifference to the Plaintiff’s federally protected rights, thereby entitling

her to punitive damages.

                             PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, requests this Honorable Court:

              a)    Enter judgment requiring Defendant to pay back wages and

       back benefits found to be due and owing at the time of trial, front-pay,

       compensatory damages, including emotional distress damages, in an amount

       to be proved at trial, punitive damages, liquidated damages, and

       prejudgment interest thereon;

             b)     Grant Plaintiff her

             c)     costs and an award of reasonable attorneys’ fees (including

      expert fees); and

            d)      Award any other and further relief as this Court deems just and
      proper.


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                           JURY DEMAND

Plaintiff hereby requests a trial by jury on all triable issues herein.


                   Respectfully Submitted:

                   /s/ Gabrielle Klepper
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